          Case 2:06-cr-00026-RSL          Document 463        Filed 04/01/11     Page 1 of 3




 1

 2

 3

 4

 5

 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. CR06-26-RSL
 9
                                   Plaintiff,
10
            v.                                            SUMMARY REPORT OF
11                                                        U.S. MAGISTRATE JUDGE AS
12   LIBAN FARAH ALI,                                     TO ALLEGED VIOLATIONS
                                                          OF SUPERVISED RELEASE
13                                 Defendant.

14
            An initial hearing on a petition for violation of supervised release was held before the
15
     undersigned Magistrate Judge on April 1, 2011. The United States was represented by
16
     Assistant United States Attorney Seth Wilkinson for Todd Greenberg, and the defendant by
17
     Tom Campbell.
18
            The defendant had been charged and convicted of Conspiracy to Distribute Cocaine
19
     Base, in violation of 21 U.S.C. §§ 841(a)(1), 841 (b)(1)(B), and 846. On or about February 16,
20
     2007, defendant was sentenced by the Honorable Robert S. Lasnik, to a term of 72 months in
21
     custody, to be followed by 5 years of supervised release.
22
            The conditions of supervised release included the requirements that the defendant
23
     comply with all local, state, and federal laws, and with the standard conditions. Special
24
     conditions imposed included, but were not limited to, participation in substance abuse and
25
     mental health programs, financial disclosure, submit to search, gambling restrictions and
26


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
          Case 2:06-cr-00026-RSL          Document 463        Filed 04/01/11      Page 2 of 3




 1   treatment if directed; no association with known gang members, no new credit, and if deported,

 2   not to reenter the United States without permission.

 3          In a Petition for Warrant or Summons, dated March 7, 2011, U.S. Probation Officer

 4   Thomas J. Fitzgerald asserted the following violations by defendant of the conditions of his

 5   supervised release:

 6          1.      Using cocaine on or before November 30, 2010, in violation of standard

 7                  condition number seven of his supervised release.

 8          2.      Failing to report for drug and alcohol testing as directed on December 1, 2010,

 9                  January 10 and 27, 2011, and February 7, 2011, in violation of his special

10                  condition of supervised release.

11          3.      Consuming marijuana on or before January 20, 2011, in violation of standard

12                  condition number seven of his supervised release.

13          The defendant was advised of his rights, acknowledged those rights, and admitted to

14   alleged violation 1. Defendant denied alleged violations 2 and 3, and requested that an

15   evidentiary hearing be set on the same day as a disposition hearing before the Honorable

16   Robert S. Lasnik on the alleged violations.

17          I therefore recommend that the Court find the defendant to have violated the terms and

18   conditions of his supervised release as to violation 1 and that the Court conduct an

19   evidentiary/disposition hearing on alleged violations 2 and 3. A disposition hearing on

20   violation 1, and an evidentiary/disposition hearing on alleged violations 2 and 3, has been set

21   for April 26, 2011 at 8:30 a.m. before the Honorable Robert S. Lasnik.

22          Pending a final determination by the Court, the defendant has been released, subject to

23   supervision.

24          DATED this 1st day of April, 2011.

25

26
                                                   A
                                                   JAMES P. DONOHUE
                                                   United States Magistrate Judge

     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
           Case 2:06-cr-00026-RSL   Document 463     Filed 04/01/11   Page 3 of 3




 1

 2

 3
     cc:    District Judge:         Honorable Robert S. Lasnik
 4          AUSA:                   Todd Greenberg
            Defendant’s attorney:   Tom Campbell
 5          Probation officer:      Thomas J. Fitzgerald
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 3
